                                  Case 22-15722-PDR                   Doc 1      Filed 07/26/22            Page 1 of 54

 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________  District of _________________
     Southern District of Florida        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               06/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Wilson
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Fils
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Lamy
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Wilson F Lamy
2.    All other names you
                                        Wilson Lamy
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           2    2    5    7
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                               Case 22-15722-PDR                           Doc 1         Filed 07/26/22            Page 2 of 54
               Wilson Fils Lamy
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           5415 Nw 22nd St                                                   _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Lauderhill                              FL
                                           _________________________________________________
                                                                                             33313           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Broward County                                                    _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
                                 Case 22-15722-PDR                       Doc 1        Filed 07/26/22           Page 3 of 54
                 Wilson Fils Lamy
 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                             
                                             ✔
                                               Chapter 7
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
                                    Case 22-15722-PDR                        Doc 1       Filed 07/26/22            Page 4 of 54
                Wilson Fils Lamy
Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
                                  Case 22-15722-PDR                       Doc 1         Filed 07/26/22              Page 5 of 54
               Wilson Fils Lamy
Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
                                  Case 22-15722-PDR                             Doc 1        Filed 07/26/22           Page 6 of 54
                Wilson Fils Lamy
Debtor 1         _______________________________________________________                                    Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                      No. Go to line 16b.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                      Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                       1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                      5,001-10,000                           50,001-100,000
      owe?                                     100-199                                    10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                                 $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                           $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                               
                                              ✔ $100,001-$500,000                          $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                        $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                                 $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                           $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                  
                                              ✔ $100,001-$500,000                          $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                        $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Wilson Fils Lamy
                                                 ______________________________________________                _____________________________
                                                 Signature of Debtor 1                                             Signature of Debtor 2

                                                                    07/26/2022
                                                 Executed on _________________                                     Executed on __________________
                                                                    MM   / DD    / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                   page 6
                                 Case 22-15722-PDR                          Doc 1       Filed 07/26/22               Page 7 of 54
               Wilson Fils Lamy
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Marc Brown                                                    Date          _________________
                                                                                                                                07/26/2022
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Marc Brown
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Marc Brown, P.A.
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 6400 N. Andrews Ave.
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 510
                                                _________________________________________________________________________________________________

                                                 Fort Lauderdale                                                 FL            33309
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 9545665678
                                                              ______________________________         Email address
                                                                                                                     marc@marcbrownpa.com
                                                                                                                     _________________________________________



                                                 30077                                                           FL
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
                                      Case 22-15722-PDR                              Doc 1           Filed 07/26/22                   Page 8 of 54


 Fill in this information to identify your case:

 Debtor 1
                     Wilson Fils Lamy
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Florida District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 169,761.50
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 29,917.25
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 199,678.75
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 133,963.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 158,239.56
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 292,202.56
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,340.28
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 5,094.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                  Case 22-15722-PDR                   Doc 1        Filed 07/26/22             Page 9 of 54
                  Wilson Lamy
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        7,251.91
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                     69,026.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               69,026.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                         Case 22-15722-PDR                                     Doc 1              Filed 07/26/22                        Page 10 of 54


Fill in this information to identify your case and this filing:

                    Wilson Fils Lamy
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Southern District of
Florida
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 5415 Nw 22nd St                                                            Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Lauderhill FL           33313
                                                                                   Land                                                                         $ 467,170.00                        $ 169,761.50
            City         State      ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Broward County                                                         Other                                                                        entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check                                     Tenancy by the Entireties
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 169,761.50


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 5
                                           Case 22-15722-PDR                                    Doc 1             Filed 07/26/22                        Page 11 of 54
Debtor 1          Wilson Fils Lamy                                                                                                                                Case number(if known)
                 First Name          Middle Name         Last Name




    3.1 Make:Toyota                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Highlander                                                                                                                                     amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2017
                                                                                       Debtor 2 only
           Approximate mileage: 86000                                                                                                                              Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 22,000.00
              Condition:Good; KBB Private                                                                                                                                                               $ 15,684.00
              Party Value VIN#                                                        Check if this is community property (see
              5TDKZRFH9HS196464;                                                  instructions)

    3.2 Make:Honda                                                                Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Countour                                                                                                                                       amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2015
                                                                                       Debtor 2 only
           Approximate mileage: 70525                                                                                                                              Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:Fair; KBB Private Party                                                                                                                    $ 11,000.00                          $ 11,000.00
              Value VIN 5J6TF1H5XFL001286;                                            Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤              $ 26,684.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          kitchenware, living room furniture, bedroom furniture, books, household tools, dinnerware, cookware, utensils, linens                                                                         $ 300.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          computers, televisions, tablets, cell phones                                                                                                                                                  $ 375.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...

          treadmill                                                                                                                                                                                     $ 60.00
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...




                                                                                                                                                                                                                    page 2 of 5
                                            Case 22-15722-PDR                                         Doc 1               Filed 07/26/22                         Page 12 of 54
Debtor 1          Wilson Fils Lamy                                                                                                                                    Case number(if known)
                First Name            Middle Name           Last Name




  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Men's casual clothing, formal, sports wear, shoes, coats, jackets                                                                                                                              $ 200.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤               $ 935.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                          Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                                      claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................     Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Bank Of America Jt. # 3207                                                                                                         $ 0.00

        17.2. Checking account:                                     Municipal Credit Union #1709                                                                                                       $ 906.07

        17.3. Checking account:                                     American Airlines Credit Union                                                                                                     $ 403.64

        17.4. Savings account:                                      Bank Of America                                                                                                                    $ 0.00

        17.5. Savings account:                                      American Airlines Credit Union                                                                                                     $ 988.54

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........


                                                                                                                                                                                                                   page 3 of 5
                                       Case 22-15722-PDR             Doc 1         Filed 07/26/22            Page 13 of 54
Debtor 1        Wilson Fils Lamy                                                                                    Case number(if known)
              First Name          Middle Name   Last Name




  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:                   $ 0.00
                                                                                                                 State:                     $ 0.00
                                                                                                                 Local:                     $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information....
  31. Interests in insurance policies
           No
           Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
           No
           Yes. Give specific information....




                                                                                                                                                         page 4 of 5
                                              Case 22-15722-PDR                                        Doc 1                Filed 07/26/22                              Page 14 of 54
Debtor 1            Wilson Fils Lamy                                                                                                                                               Case number(if known)
                  First Name            Middle Name           Last Name




   33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
               No
               Yes. Give specific information....
   34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
          off claims
               No
               Yes. Give specific information....
   35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
     you have attached for Part 4. Write that number here...........................................................................................................................................➤                $ 2,298.25


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

   37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

   46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

   53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                      $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                   $ 169,761.50
  56. Part 2: Total vehicles, line 5                                                                                           $ 26,684.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 935.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 2,298.25
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 29,917.25                         Copy personal property total➤          +$
                                                                                                                                                                                                                29,917.25
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                         $ 199,678.75




                                                                                                                                                                                                                     page 5 of 5
                                   Case 22-15722-PDR                 Doc 1            Filed 07/26/22               Page 15 of 54

 Fill in this information to identify your case:

                     Wilson Fils Lamy
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Florida District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                               4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim

                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 5415 Nw 22nd St                                                                                                   Fla. Const. Art. 10, sec. 4(a)(1)
 Brief
 description:
                                                                  169,761.50
                                                                 $________________           
                                                                                             ✔ $ ____________
                                                                                                 169,761.50
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1
                 2017 Toyota Highlander                                                                                            Fla. Stat. Ann. § 222.25 (1)
 Brief
 description:
                                                                   15,684.00
                                                                 $________________            $ ____________
                                                                                              ✔  1,000.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:       3.1
              Household Goods - kitchenware, living room                                                                           Fla. Const. Art.10, § 4(a) (2)
 Brief        furniture, bedroom furniture, books, household tools, $________________
 description: dinnerware, cookware, utensils, linens
                                                                      300.00                 
                                                                                             ✔ $ ____________
                                                                                                 300.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                                 2
                                                                                                                                                             page 1 of __
                              Case 22-15722-PDR Doc 1 Filed 07/26/22 Page 16 of 54
Debtor           Wilson Fils Lamy
                _______________________________________________________ Case number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                     Amount of the                       Specific laws that allow exemption
                                                                            Current value of the   exemption you claim
         on Schedule A/B that lists this property                           portion you own
                                                                           Copy the value from    Check only one box
                                                                            Schedule A/B           for each exemption
               Electronics - computers, televisions, tablets, cell phones                                                               Fla. Const. Art.10, § 4(a) (2)
Brief
description:
                                                                             375.00
                                                                            $________________         375.00
                                                                                                   ✔ $ ____________

                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         7
               Sports & Hobby Equipment - treadmill                                                                                     Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                                $________________
                                                                             60.00                 
                                                                                                   ✔ $ ____________
                                                                                                       60.00
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:         9
               Clothing - Men's casual clothing, formal, sports wear,                                                                   Fla. Const. Art.10, § 4(a) (2)
Brief          shoes, coats, jackets
description:                                                                $________________
                                                                             200.00                
                                                                                                   ✔ $ ____________
                                                                                                       200.00
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         11
               Municipal Credit Union #1709 (Checking Account)                                                                          Fla. Const. Art.10, § 4(a) (2)
Brief
description:
                                                                             906.07
                                                                            $________________         65.00
                                                                                                   ✔ $ ____________

                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           17.2

Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                                $________________       $ ____________
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                          page ___ of __ 2
                                           Case 22-15722-PDR                      Doc 1          Filed 07/26/22           Page 17 of 54

  Fill in this information to identify your case:

  Debtor 1           Wilson Fils Lamy
                     First Name                                  Last Name
                                            Middle Name

  Debtor 2
  (Spouse, if filing)      First Name
                                                   Middle Name
                                                                      Last Name



  United States Bankruptcy Court for the: Southern District of Florida

  Case number                                                                                                                                         Check if this is
  (if know)                                                                                                                                           an amended
                                                                                                                                                      filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A              Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of             Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not              collateral that   portion If any
                                                                                                              deduct the value      supports this
                                                                                                              of collateral.        claim
 2.1                                                               Describe the property that secures the claim: $ 127,647.00      $ 467,170.00       $ 0.00

                                                                  5415 Nw 22nd St, Lauderhill, FL 33313 - $467,170.00
       Select Portfolio Svcin
       Creditor’s Name
       Po Box 65250
       Number        Street
                                                                 As of the date you file, the claim is: Check all
       Salt Lake City UT                84165                    that apply.
       City                   State     ZIP Code
                                                                    Contingent
       Who owes the debt? Check one.                                Unliquidated
         Debtor 1 only                                              Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                              Nature of lien. Check all that apply.
         At least one of the debtors and another                    An agreement you made (such as mortgage or
                                                                    secured car loan)
              Check if this claim relates to a                      Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                        Judgment lien from a lawsuit
                                                                    Other (including a right to offset)
       Date debt was incurred 2006
                                                                 Last 4 digits of account number 3236




Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                    page 1 of 2
                 Wilson Fils Lamy
Debtor          First Name                Case 22-15722-PDR
                                   Middle Name   Last Name                    Doc 1          Filed 07/26/22            Page 18number(if
                                                                                                                          Case  of 54known)

 2.2                                                           Describe the property that secures the claim: $ 6,316.00             $ 22,000.00   $ 0.00

                                                              2017 Toyota Highlander - $22,000.00
        Setoyota Fin Dba Of Wo
        Creditor’s Name
        Po Box 91614
        Number       Street
                                                             As of the date you file, the claim is: Check all
        Mobile AL             36691                          that apply.
        City       State      ZIP Code
                                                                Contingent
        Who owes the debt? Check one.                           Unliquidated
          Debtor 1 only                                         Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                         Nature of lien. Check all that apply.
          At least one of the debtors and another               An agreement you made (such as mortgage or
                                                                secured car loan)
               Check if this claim relates to a                 Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                   Judgment lien from a lawsuit
                                                                Other (including a right to offset)
        Date debt was incurred 2017
                                                             Last 4 digits of account number 0665

       Add the dollar value of your entries in Column A on this page. Write that number here:                        $ 133,963.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
                                           Case 22-15722-PDR                         Doc 1        Filed 07/26/22             Page 19 of 54

   Fill in this information to identify your case:

                   Wilson Fils Lamy
   Debtor 1
                   First Name                                    Last Name
                                             Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                                   Middle Name
                                                                      Last Name



   United States Bankruptcy Court for the: Southern District of Florida

   Case number                                                                                                                                       Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                        Last 4 digits of account number 9***
         Absolute Resolutions I                                                                                                                           $ 13,076.00
         Nonpriority Creditor's Name
                                                                             When was the debt incurred? 2019

         8000 Norman Center Dr St                                            As of the date you file, the claim is: Check all that apply.
         Number        Street                                                   Contingent
         Bloomington MN                 55437                                   Unliquidated
         City              State        ZIP Code
                                                                                Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                     Student loans
             Debtor 1 and Debtor 2 only                                         Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
             At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                         debts
             debt                                                              Other. Specify Collection for Sofi Lending
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 1 of 10
                  Wilson Fils Lamy
 Debtor          First Name                 Case 22-15722-PDR
                                   Middle Name         Last Name              Doc 1         Filed 07/26/22             Page 20number(if
                                                                                                                          Case  of 54known)

  4.2                                                                 Last 4 digits of account number 8053
          Amex                                                                                                                                $ 3,758.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 2016

          Po Box 297871                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Fort Lauderdale FL                33329                        Unliquidated
          City                    State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another
                                                                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                 Last 4 digits of account number 4023
          Amex                                                                                                                                $ 3,786.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 2014

          Po Box 297871                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Fort Lauderdale FL                33329                        Unliquidated
          City                    State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another
                                                                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                 Last 4 digits of account number 3529
          Bank Of America                                                                                                                     $ 1,733.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 2018

          Po Box 982238                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          El Paso TX             79998                                   Unliquidated
          City         State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another
                                                                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                           page 2 of 10
                  Wilson Fils Lamy
 Debtor          First Name                  Case 22-15722-PDR
                                      Middle Name    Last Name              Doc 1         Filed 07/26/22             Page 21number(if
                                                                                                                        Case  of 54known)

  4.5                                                               Last 4 digits of account number ****
          Barclaysbk                                                                                                                        $ 4,229.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2015

          1007 Orange Street Suite 1541 Po Box 26182                As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Wilmington DE                19801                           Unliquidated
          City                State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.6                                                               Last 4 digits of account number ****
          Capital One Bank Usa N                                                                                                            $ 8,329.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2014

          Po Box 31293                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Salt Lake City UT               84131                        Unliquidated
          City                   State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                               Last 4 digits of account number ****
          Capital One Bank Usa N                                                                                                             $ 925.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2021

          Po Box 31293                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Salt Lake City UT               84131                        Unliquidated
          City                   State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                           page 3 of 10
                  Wilson Fils Lamy
 Debtor          First Name                  Case 22-15722-PDR
                                      Middle Name   Last Name              Doc 1         Filed 07/26/22             Page 22number(if
                                                                                                                       Case  of 54known)

  4.8                                                              Last 4 digits of account number ****
          Cap One                                                                                                                          $ 4,899.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2013

          Po Box 85015                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Richmond VA                 23285-5075                      Unliquidated
          City            State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                              Last 4 digits of account number ****
          Citi                                                                                                                             $ 1,619.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2008

          701 E 60th St N, Ibs Cdv Disputes                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Sioux Falls SD              57104                           Unliquidated
          City                State   ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Credit Corp Solutions                                       Last 4 digits of account number 1192
                                                                                                                                           $ 1,968.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2020

          121 W Election Rd Ste 20                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Draper UT              84020                                Unliquidated
          City       State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Collection for Bright Card Platinum
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                           page 4 of 10
                  Wilson Fils Lamy
 Debtor          First Name                  Case 22-15722-PDR
                                      Middle Name   Last Name              Doc 1         Filed 07/26/22             Page 23number(if
                                                                                                                       Case  of 54known)

  4.11 Discover Bank                                               Last 4 digits of account number ****
                                                                                                                                           $ 2,412.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2016

          Po Box 15316                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Wilmington DE                19850                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.12 Jpmcb Card                                                  Last 4 digits of account number ****
                                                                                                                                           $ 5,515.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2015

          201 N. Walnut St//De1 1027                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Wilmington DE                19801                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Jpmcb Card                                                  Last 4 digits of account number ****
                                                                                                                                            $ 298.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2018

          Po Box 15369                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Wilmington DE                19850                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                           page 5 of 10
                  Wilson Fils Lamy
 Debtor          First Name                  Case 22-15722-PDR
                                      Middle Name   Last Name              Doc 1         Filed 07/26/22             Page 24number(if
                                                                                                                       Case  of 54known)

  4.14 Jpmcb Card                                                  Last 4 digits of account number ****
                                                                                                                                           $ 1,963.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2005

          201 N. Walnut St//De1 1027                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Wilmington DE                19801                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.15 Jpmcb Card                                                  Last 4 digits of account number ****
                                                                                                                                           $ 5,394.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2014

          201 N. Walnut St//De1 1027                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Wilmington DE                19801                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.16 Macys/Dsnb                                                  Last 4 digits of account number 0666
                                                                                                                                           $ 2,207.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2005

          Po Box 8218                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Mason OH               45040                                Unliquidated
          City       State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                           page 6 of 10
                  Wilson Fils Lamy
 Debtor          First Name                  Case 22-15722-PDR
                                      Middle Name   Last Name              Doc 1         Filed 07/26/22             Page 25number(if
                                                                                                                       Case  of 54known)

  4.17 Midland Cred                                                Last 4 digits of account number 5***
                                                                                                                                           $ 1,948.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2020

          320 East Big Beaver Suite 300                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Troy      MI        48083                                   Unliquidated
          City      State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.18 Midland Credit Management, Inc.                             Last 4 digits of account number ****
                                                                                                                                           $ 6,438.56
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 301030                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Los Angeles CA                90030                         Unliquidated
          City                State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.19 Onemain                                                     Last 4 digits of account number 2314
                                                                                                                                           $ 4,819.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2017

          Po Box 1010                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Evansville IN               47706                           Unliquidated
          City            State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                           page 7 of 10
                  Wilson Fils Lamy
 Debtor          First Name                 Case 22-15722-PDR
                                    Middle Name   Last Name              Doc 1         Filed 07/26/22             Page 26number(if
                                                                                                                     Case  of 54known)

  4.20 Portfolio Recov Assoc                                     Last 4 digits of account number 9018
                                                                                                                                         $ 3,662.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2021

          150 Corporate Blvd                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Norfolk VA             23502                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.21 Portfolio Recov Assoc                                     Last 4 digits of account number 1560
                                                                                                                                         $ 6,781.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2021

          150 Corporate Blvd                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Norfolk VA             23502                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.22 Syncb/Brandsmart                                          Last 4 digits of account number ****
                                                                                                                                         $ 1,424.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2017

          Po Box 965036                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Orlando FL             32896                              Unliquidated
          City         State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                           page 8 of 10
                  Wilson Fils Lamy
 Debtor          First Name                  Case 22-15722-PDR
                                      Middle Name   Last Name              Doc 1         Filed 07/26/22               Page 27number(if
                                                                                                                         Case  of 54known)

  4.23 The Bureaus Inc                                             Last 4 digits of account number 3***
                                                                                                                                                                   $ 1,894.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2020

          650 Dundee Rd Ste 370                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Northbrook IL                60062                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.24 Us Dept Of Ed/Glelsi                                        Last 4 digits of account number 8581
                                                                                                                                                               $ 69,026.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2010

          Po Box 7860                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Madison WI              53707                               Unliquidated
          City          State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.25 Wf/Dillard                                                  Last 4 digits of account number 7910
                                                                                                                                                                    $ 136.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2014

          Po Box 14517                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Des Moines IA                 50306                         Unliquidated
          City                State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another
                                                                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Authorized credit card user
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        David M. Greenbaum, Esq.                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                              Line 4.20 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        120 Corporate Boulevard
        Number       Street                                                                                         Part 2: Creditors with Nonpriority Unsecured
        Norfolk VA             23502                                          Claims
        City       State       ZIP Code
                                                                              Last 4 digits of account number 1267




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 9 of 10
                 Wilson Fils Lamy
 Debtor        First Name              Case 22-15722-PDR
                                Middle Name   Last Name                 Doc 1           Filed 07/26/22             Page 28number(if
                                                                                                                      Case  of 54known)

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
        Jessica L. Montes, Esq.
        Creditor’s Name                                                    Line 4.21 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        120 Corporate Blvd                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Number     Street
                                                                           Claims
        Norfolk VA          23502
        City      State     ZIP Code                                       Last 4 digits of account number 0218

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 0.00



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 69,026.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 89,213.56
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 158,239.56




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 10 of 10
                                     Case 22-15722-PDR                      Doc 1     Filed 07/26/22               Page 29 of 54

  Fill in this information to identify your case:

  Debtor 1
                     Wilson Fils Lamy
                      First Name                                Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing)       First Name
                                              Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: Southern District of Florida

  Case number                                                                                                                      Check if this is
  (if know)                                                                                                                        an amended
                                                                                                                                   filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                          Schedule G: Executory Contracts and Unexpired Leases                           page 1 of 1
                                        Case 22-15722-PDR                Doc 1        Filed 07/26/22         Page 30 of 54

Fill in this information to identify your case:

Debtor 1
                Wilson Fils Lamy
                     First Name                             Last Name
                                         Middle Name

Debtor 2
(Spouse, if filing)        First Name
                                              Middle Name
                                                                 Last Name



United States Bankruptcy Court for the: Southern District of Florida

Case number                                                                                                                             Check if this is
(if know)                                                                                                                               an amended
                                                                                                                                        filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:




Official Form 106H                                                       Schedule H: Your Codebtors                                              page 1 of 1
                                  Case 22-15722-PDR                    Doc 1        Filed 07/26/22          Page 31 of 54

 Fill in this information to identify your case:

                      Wilson Fils Lamy
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Southern District of Florida District
                                                                                     tate)
 Case number         ___________________________________________                                         Check if this is:
  (If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
                                                                                                            ________________
Official Form 106I                                                                                          MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                              Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                            ✔ Employed
    information about additional          Employment status                                                                 Employed
    employers.                                                              Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Rn
                                          Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                            Metropolitan Hostpital
                                          Employer’s name                __________________________________            __________________________________


                                          Employer’s address                1901 1st Ave
                                                                         _______________________________________     ________________________________________
                                                                          Number Street                               Number    Street

                                                                         _______________________________________     ________________________________________

                                                                         _______________________________________     ________________________________________

                                                                            New York, NY 10029
                                                                         _______________________________________     ________________________________________
                                                                          City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   6 Months                                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.       7,251.91
                                                                                                   $___________           $____________

 3. Estimate and list monthly overtime pay.                                                  3.   + $___________
                                                                                                            0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                             4.       7,251.91
                                                                                                   $__________            $____________




Official Form 106I                                                   Schedule I: Your Income                                                      page 1
                 Wilson  Fils Lamy
                                      Case 22-15722-PDR                               Doc 1            Filed 07/26/22              Page 32 of 54
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        7,251.91
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        1,394.31
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
                                     Pension Arrears                                                                    + $____________
     5h. Other deductions. Specify: __________________________________                                           5h.            24.39         +   $_____________
     NYSNA
    _____________________________________________________________
                                                                                                                               47.47
                                                                                                                         $____________            $____________
     Tier 6
    _____________________________________________________________                                                             416.98
                                                                                                                         $____________            $____________
     NYSNA Dues for FT Nurse
    _____________________________________________________________                                                              28.48
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,911.63
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        5,340.28
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            5,340.28
                                                                                                                         $___________     +       $_____________      =      5,340.28
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             5,340.28
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                                   Case 22-15722-PDR                     Doc 1             Filed 07/26/22           Page 33 of 54

  Fill in this information to identify your case:

                     Wilson Fils Lamy
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Southern District of Florida
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
                                                                                            Son                                      16           ✔ No
                                                                                                                                                  
   Do not state the dependents’                                                            _________________________                ________
   names.                                                                                                                                          Yes
                                                                                            Dad
                                                                                           _________________________                ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            Son                                      12           ✔ No
                                                                                                                                                  
                                                                                           _________________________                ________
                                                                                                                                                   Yes
                                                                                            Mom
                                                                                           _________________________                ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,808.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   100.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                              page 1
                                   Case 22-15722-PDR                   Doc 1     Filed 07/26/22       Page 34 of 54

                    Wilson Fils Lamy
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     140.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                     375.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     295.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     400.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                     400.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     210.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      60.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                        0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     310.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     185.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                     115.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     277.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     419.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                                    Case 22-15722-PDR                Doc 1       Filed 07/26/22           Page 35 of 54

                   Wilson Fils Lamy
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 5,094.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 5,094.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,340.28
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 5,094.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    246.28
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                            Case 22-15722-PDR           Doc 1              Filed 07/26/22            Page 36 of 54

Fill in this information to identify your case:

Debtor 1           Wilson Fils Lamy
                  __________________________________________________________________
                    First Name                  Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                  Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:Southern District of Florida District of __________
                                                                                 (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Wilson Fils Lamy
          ______________________________________________            _____________________________
         Signature of Debtor 1                                          Signature of Debtor 2


              07/26/2022
         Date _________________                                         Date _________________
                MM /    DD       /   YYYY                                        MM / DD /   YYYY




  Official Form 106Dec                                        Declaration About an Individual Debtor’s Schedules
                                       Case 22-15722-PDR                          Doc 1        Filed 07/26/22               Page 37 of 54


 Fill in this information to identify your case:

                    Wilson Fils Lamy
 Debtor 1
                    First Name          Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name         Middle Name           Last Name



 United States Bankruptcy Court for the: Southern District of Florida

 Case number
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                            Debtor 1                                              Debtor 2

                                                                            Sources of income         Gross income                Sources of income          Gross income
                                                                            Check all that apply      (before deductions          Check all that apply       (before deductions
                                                                                                      and exclusions)                                        and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                             Wages,              $ 36,872.00                       Wages,              $
                                                                               commissions,                                          commissions,
                                                                               bonuses, tips                                         bonuses, tips
                                                                               Operating a business                                  Operating a business


         For last calendar year:
                                                                               Wages,              $ 72,337.00                       Wages,              $
         (January 1 to December 31, 2021                                       commissions,                                          commissions,
                                                                               bonuses, tips                                         bonuses, tips
                                                                               Operating a business                                  Operating a business


         For the calendar year before that:
                                                                               Wages,              $ 68,108.00                       Wages,              $
         (January 1 to December 31, 2020                                       commissions,                                          commissions,
                                                                               bonuses, tips                                         bonuses, tips
                                                                               Operating a business                                  Operating a business



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
                                     Case 22-15722-PDR                     Doc 1          Filed 07/26/22                 Page 38 of 54
Debtor          Wilson Fils Lamy                                                                                                Case number(if known)
               First Name     Middle Name   Last Name




5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                             Nature of the case                      Court or agency                                    Status of the
                                                                                                                                                        case

    Case title:                                                                                                                                            Pending
    Portfolio Recovery Associates,                           Contract Debt; Date filed:
                                                                                                    Broward County Court                                   On appeal
    LLC vs. Wilson Lamy                                      04/11/2022
                                                                                                    Court Name
    Case number:                                                                                                                                           Concluded
    COCE-22-021267                                                                                  201 SE 6th St.
                                                                                                    Number     Street
                                                                                                    Fort Lauderdale FL          33301
                                                                                                    City                State   ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 6
                                         Case 22-15722-PDR                     Doc 1          Filed 07/26/22                 Page 39 of 54
Debtor            Wilson Fils Lamy                                                                                                  Case number(if known)
                 First Name       Middle Name   Last Name




    Case title:                                                                                                                                                    Pending
    Portfolio Recovery Associates,                               Contract Debt; Date filed:
                                                                                                        Broward County Court                                       On appeal
    LLC vs. Wilson Lamy                                          05/18/2022
                                                                                                        Court Name
    Case number:                                                                                                                                                   Concluded
    COCE-22-030218                                                                                      201 SE 6th St.
                                                                                                        Number     Street
                                                                                                        Fort Lauderdale FL          33301
                                                                                                        City                State   ZIP Code


10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                    Description and value of any property transferred                          Date payment      Amount of
                                                                                                                                               or transfer was   payment
                                                                                                                                               made
                                                                                                                                                                 $ 50.00
                                                                   Credit Report
          Universal Credit Services                                                                                                                              $
          Person Who Was Paid
          370 Reed Road Suite 100
          Number         Street
          Broomall PA             19008
          City           State    ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 3 of 6
                                              Case 22-15722-PDR                      Doc 1          Filed 07/26/22                 Page 40 of 54
Debtor            Wilson Fils Lamy                                                                                                       Case number(if known)
                 First Name           Middle Name     Last Name




                                                                          Description and value of any property transferred                      Date payment      Amount of
                                                                                                                                                 or transfer was   payment
                                                                                                                                                 made
                                                                                                                                                                   $ 25.00
                                                                         credit counseling course
          001 Debtorcc, Inc.                                                                                                                                       $
          Person Who Was Paid
          378 Summit Avenue
          Number         Street
          Jersey City NJ                07306
          City                State     ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



                                                                          Description and value of any property transferred                      Date payment      Amount of
                                                                                                                                                 or transfer was   payment
                                                                                                                                                 made
                                                                                                                                                                   $ 2,000.00
                                                                         Attorney Fee
          Marc E. Brown, Esq.                                                                                                                                      $
          Person Who Was Paid
          6400 N. Andrews Avenue., Suite 510
          Number         Street
          Fort Lauderdale FL                  33309
          City                        State   ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.




Official Form 107                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4 of 6
                                     Case 22-15722-PDR                      Doc 1          Filed 07/26/22                 Page 41 of 54
Debtor          Wilson Fils Lamy                                                                                                Case number(if known)
               First Name     Middle Name    Last Name




22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:        Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 5 of 6
                                        Case 22-15722-PDR                     Doc 1          Filed 07/26/22                 Page 42 of 54
Debtor         Wilson Fils Lamy                                                                                                   Case number(if known)
              First Name         Middle Name   Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Wilson Fils Lamy
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 07/26/2022                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
                                        Case 22-15722-PDR                      Doc 1          Filed 07/26/22                   Page 43 of 54


  Fill in this information to identify your case:

                     Wilson Fils Lamy
   Debtor 1
                     First Name          Middle Name            Last Name

   Debtor 2
   (Spouse, if filing)   First Name        Middle Name            Last Name



   United States Bankruptcy Court for the: Southern District of Florida

   Case number
   (if known)
                                                                                                                                               Check if this is
                                                                                                                                               an amended
                                                                                                                                               filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                           12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                             No
   name:                 Setoyota Fin Dba Of Wo
                                                                                     Retain the property and redeem it.                  Yes
   Description of 2017 Toyota Highlander                                             Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:



   Creditor's                                                                        Surrender the property.                             No
   name:                 Select Portfolio Svcin
                                                                                     Retain the property and redeem it.                  Yes
   Description of 5415 Nw 22nd St                                                    Retain the property and enter into a
   property
                                                                                     Reaffirmation Agreement.
   securing debt:
                                                                                     Retain the property and [explain]:




 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases Will the lease be assumed?




 Official Form 108                                             Statement of Intention for Individuals Filing Under Chapter 7                          page 1 of 2
                                 Case 22-15722-PDR             Doc 1          Filed 07/26/22                   Page 44 of 54
Debtor        Wilson Fils Lamy                                                                                    Case number(if known)



Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Wilson Fils Lamy
       Signature of Debtor 1                                                   Signature of Debtor 2


     Date 07/26/2022                                                         Date 07/26/2022
             MM/DD/YYYY                                                             MM/DD/YYYY




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                              page 2 of 2
           Case 22-15722-PDR   Doc 1   Filed 07/26/22   Page 45 of 54


Absolute Resolutions I
8000 Norman Center Dr St
Bloomington, MN 55437


Amex
Po Box 297871
Fort Lauderdale, FL 33329


Bank Of America
Po Box 982238
El Paso, TX 79998


Barclaysbk
1007 Orange Street Suite 1541 Po Box 261
Wilmington, DE 19801


Cap One
Po Box 85015
Richmond, VA 23285-5075


Capital One Bank Usa N
Po Box 31293
Salt Lake City, UT 84131


Citi
701 E 60th St N, Ibs Cdv Disputes
Sioux Falls, SD 57104


Credit Corp Solutions
121 W Election Rd Ste 20
Draper, UT 84020


David M. Greenbaum, Esq.
120 Corporate Boulevard
Norfolk, VA 23502


Discover Bank
Po Box 15316
Wilmington, DE 19850


Jessica L. Montes, Esq.
120 Corporate Blvd
Norfolk, VA 23502


Jpmcb Card
201 N. Walnut St//De1 1027
Wilmington, DE 19801


Jpmcb Card
Po Box 15369
Wilmington, DE 19850
           Case 22-15722-PDR      Doc 1   Filed 07/26/22   Page 46 of 54


Macys/Dsnb
Po Box 8218
Mason, OH 45040


Midland Cred
320 East Big Beaver Suite 300
Troy, MI 48083


Midland Credit Management, Inc.
PO Box 301030
Los Angeles, CA 90030


Onemain
Po Box 1010
Evansville, IN 47706


Portfolio Recov Assoc
150 Corporate Blvd
Norfolk, VA 23502


Select Portfolio Svcin
Po Box 65250
Salt Lake City, UT 84165


Setoyota Fin Dba Of Wo
Po Box 91614
Mobile, AL 36691


Syncb/Brandsmart
Po Box 965036
Orlando, FL 32896


The Bureaus Inc
650 Dundee Rd Ste 370
Northbrook, IL 60062


Us Dept Of Ed/Glelsi
Po Box 7860
Madison, WI 53707


Wf/Dillard
Po Box 14517
Des Moines, IA 50306
              Case 22-15722-PDR     Doc 1    Filed 07/26/22   Page 47 of 54




                             United States Bankruptcy Court
                             Southern District of Florida




         Wilson Fils Lamy
In re:                                                        Case No.

                                                              Chapter    7
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              07/26/2022                        /s/ Wilson Fils Lamy
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
                Case 22-15722-PDR          Doc 1     Filed 07/26/22     Page 48 of 54
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                          www.flsb.uscourts.gov

 In re:                                                           Case No.
Wilson Fils Lamy                                                  Chapter 7



                                    /

                         DECLARATION REGARDING PAYMENT ADVICES

 Debtor:
   ✔
          Copies of all payment advices, pay stubs or other evidence of payment received by the
          debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
          attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
          and all received and provide explanation that you didn’t work the full 60 days.
                                                                                                   )

          Copies of all payment advices are not attached because the debtor had no income from
          any employer during the 60 days prior to filing the bankruptcy petition.

          Copies of all payment advices are not attached because the debtor:
            receives disability payments
            is unemployed and does not receive unemployment compensation
            receives Social Security payments
            receives a pension
            does not work outside the home
            is self employed and does not receive payment advices

          None of the statements above apply, however, the debtor is unable to timely provide
          some or all copies of payment advices or other evidence of payment received
          Explain:

 Joint Debtor (if applicable):

          Copies of payment advices, pay stubs or other evidence of payment received by the joint
          debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
          attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
          and all received and provide explanation that you didn’t work the full 60 days.
                                                                                                   )

          Copies of payment advices are not attached because the joint debtor had no income from
          any employer during the 60 days prior to filing the bankruptcy petition.




 LF-10 (rev. 12/01/09)                         Page 1 of 2
                 Case 22-15722-PDR         Doc 1   Filed 07/26/22   Page 49 of 54



         Copies of payment advices are not attached because the joint debtor:
            receives disability payments
            is unemployed and does not receive unemployment compensation
            receives Social Security payments
            receives a pension
            does not work outside the home
            is self employed and does not receive payment advices

          None of the statements above apply, however, the joint debtor is unable to timely
         provide some or all copies of payment advices or other evidence of payment received
         Explain:



NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices,
it is your responsibility to redact (blackout) any social security numbers, names of minor
children, dates of birth or financial account numbers before attaching for filing with the
court. See Local Rule 5005-1(A)(2).

/s/ Wilson Fils Lamy                                        Date: 07/26/2022
Signature of Attorney or Debtor


                                                            Date: 07/26/2022
Signature of Joint Debtor, if applicable




LF-10 (rev. 12/01/09)                        Page 2 of 2
                           Case 22-15722-PDR                 Doc 1       Filed 07/26/22          Page 50 of 54

UNITED STATES BANKRUPTCY COURT
Southern District of Florida
_____________________________________________________________________________
In Re:                                                                   Case No.

 Wilson Lamy

                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER
                 Wilson Lamy
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  ■    If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


       07/26/2022
Dated: _____________________________

        /s/ Wilson Fils Lamy
Signed: _______________________________________                              ______________________________________________
                      (Applicant)                                                           (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.
      07/26/2022
Dated:_____________________________                                               /s/ Marc Brown
                                                           Attorney for Debtor(s) _________________________________________
                                                                                   Marc Brown
                                                                                   _________________________________________
                                                                                6400 N. Andrews Ave. Suite 510
                                                           Address of Attorney _________________________________________
                                                                                    Fort Lauderdale, FL 33309
                                                                                   _________________________________________
                 Case 22-15722-PDR              Doc 1       Filed 07/26/22         Page 51 of 54




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
               Case 22-15722-PDR                Doc 1       Filed 07/26/22         Page 52 of 54




   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
                 Case 22-15722-PDR              Doc 1       Filed 07/26/22         Page 53 of 54


Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
                  Case 22-15722-PDR                  Doc 1   Filed 07/26/22        Page 54 of 54




                                                                A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                    education-courses.
mailing address                                                 In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
Form 101). To ensure that you receive
                                                                If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
